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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 LINDSAY HECOX, and JANE DOE with
 her next friends JEAN DOE and JOHN                 Case No. 1:20-cv-00184-DCN
 DOE,
                                                    Hon. David C. Nye
                      Plaintiffs,
       v.                                           STIPULATED FACTS IN RESPONSE
                                                    TO NINTH CIRCUIT ORDER DATED
 BRADLEY LITTLE, in his official                    JUNE 24, 2021
 capacity as Governor of the State of Idaho,
 et al.

                      Defendants,
 and

MADISON KENYON, et al.,

                      Intervenors.


       In September 2020, Defendants and Intervenors appealed the preliminary injunction

entered in this case. During briefing on appeal, Plaintiffs informed the Ninth Circuit of relevant



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developments since Defendants and Intervenors noticed their appeals: namely, that, “[w]ith H.B.

500 enjoined, Lindsay [Hecox] was permitted to try out for BSU’s women’s cross country and

track teams in fall 2020, but did not make the team,” and had “subsequently taken a temporary

leave of absence from BSU.” Ninth Circuit Dkt. 65 at 17 n.4. Members of the Ninth Circuit

panel asked questions during oral argument about whether Lindsay’s claim is moot because she 1

is not currently enrolled at Boise State, and afterwards ordered supplemental briefing to address

the same. Determining that the supplemental briefing “failed to resolve the issue, and served only

to raise further questions,” ECF 79 at p. 3, the Ninth Circuit ordered this Court to “determin[e]

whether Lindsay Hecox’s claim is moot in light of her changed enrollment status at Boise State

University.” Id. at p. 1. The Ninth Circuit identified several questions to aid the mootness

analysis:

       (1)      “Is Hecox still an admitted student who can re-enroll at BSU whenever she

                desires, or are there barriers to re-enrollment?”

       (2)      “Does she have evidence of savings, discussions with administrators, or anything

                else that shows a concrete plan to re-enroll?”

       (3)      What was “the Fall 2020 deadline for dropping classes[,] and the penalty for

                dropping out after that deadline”?

       (4)      Would Hecox “be eligible to play for BSU if she re-enrolled and made the team”?

       (5)      “[D]oes the fact that she withdrew from classes before the deadline to drop

                classes impact her status for NCAA eligibility purposes?”




1
 Defendants and Intervenors do not concede or imply that Lindsay Hecox is female for purposes
of eligibility to participate on women’s teams under House Bill 500.
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        (6)     Has “the NCAA created any COVID-related exceptions to its requirements that

                apply to Hecox?”

        (7)     “[I]f Hecox is not eligible to play on the NCAA teams or does not make those

                teams, are there BSU women’s club teams that she plans to join instead?”

        To help the Court answer the Ninth Circuit’s questions, the parties stipulate to the

following facts: 2

Barriers to Re-Enrollment

        1.      Lindsay Hecox’s withdrawal from classes during the Fall 2020 semester does not

pose a barrier to her enrolling in classes at Boise State in the Spring 2022 semester. Registration

for continuing students for Spring 2022 opens on November 1, 2021, open enrollment begins on

December 13, 2021, and the deadline to register for regular session classes is January 24, 2022.

Classes begin on January 10, 2022. Lindsay can enroll for the Spring 2022 semester once

registration begins.

Evidence of Savings, Discussions with Administrators, Concrete Plans to Re-Enroll

        2.      Lindsay Hecox’s tuition rate including fees for the Fall 2020 semester was

$12,612.00. She was personally responsible for $2,994, as she received $6,445 from the Western

Undergraduate Exchange Scholarship and $3,173 in federal Pell Grants. When she withdrew,

Lindsay Hecox did not receive a tuition refund and had to repay $793 of her Pell Grant.

        3.      If Lindsay Hecox qualifies for in-state tuition, her tuition rate including fees for

the Spring 2022 semester is estimated to be about $4,030. If she does not qualify for in-state




2
 Defendants and Intervenors stipulate to these facts solely for purposes of resolving the question
of mootness in this litigation, as presented in the Ninth Circuit’s order date June 24, 2021.
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tuition, her tuition rate including fees for the Spring 2022 semester is estimated to be about

$12,490.

       4.      Lindsay Hecox can qualify for in-state tuition if she is considered an “independent

student” under Idaho Code § 33-3717B(1)(b). An independent student receives less than 50% of

their financial support from a parent or guardian and “has continuously resided and maintained a

bona fide domicile in the state of Idaho primarily for purposes other than educational for twelve

(12) months preceding the opening day of the term for which the student matriculates.” Idaho

Code § 33-3717B(1)(b). Lindsay says that she receives less than 50% of her financial support

from her parents. An individual can establish domicile by proving at least five of the following

criteria for 12 months before the term for which residency is sought: (1) ownership or leasing of

a residence in Idaho; (2) registration and payment of Idaho taxes or fees, other than sales tax; (3)

registration to vote in Idaho; (4) holding an Idaho driver’s license or ID card; (5) evidence of

abandonment of previous domicile; (6) establishment of accounts with Idaho financial

institutions; (7) other similar factors such as enrollment of dependent children in Idaho

elementary or secondary schools, acceptance of permanent employment in Idaho, documentation

of need to care for relative in Idaho, utility statements, and employment documentation. Idaho

State Board of Education, Fact Sheet: Pathways for Proving Idaho Residency (Mar. 25, 2020),

https://boardofed.idaho.gov/wp-content/uploads/2017/03/Pathways-word-03.25.2020.pdf.

Lindsay Hecox has:

       (1)     leased a residence in Boise, Idaho since August 2020;

       (2)     been paying Idaho state income taxes since she began working full-time in Idaho

               in December 2020;

       (3)     been registered to vote in Idaho since September 2019;



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       (4)     held an Idaho ID card since January 2020;

       (5)     said that she abandoned her previous domicile in California when she relocated her

               personal possessions to Idaho in August 2019; and

       (6)     the ability to provide employment documentation such as work schedules and pay

               stubs reflecting her full-time employment in Idaho since December 2020.

       For the Spring 2022 semester, Lindsay Hecox must satisfy the residency requirements by

the opening day of the term, and she must submit the requisite supporting paperwork to the Boise

State Registrar’s Office by January 24, 2022. If Lindsay establishes in-state residency, she will

no longer receive the Western Undergraduate Exchange scholarship.

       5.      Joshua Wilkins, Senior Coordinator of Customer Service and Residency at Boise

State, informed Lindsay via email on November 18, 2020 that she could also establish Idaho

residency by proving she had worked full-time in Idaho for 12 months and filing an Idaho state

tax return. Lindsay has been working full-time in Idaho since December 2020. She previously filed

an Idaho state tax return and plans to file an Idaho state tax return in 2022.

       6.      As of October 2020, Lindsay Hecox had $15,231.80 that was available for tuition,

textbooks, living expenses, and other costs associated with attending Boise State in her checking

and savings accounts. As of September 23, 2021, Lindsay Hecox had $23,949.27 that is available

for tuition, textbooks, living expenses, and other costs associated with attending Boise State in her

checking and savings accounts. She saved that additional money by working full-time since

December 2020. Lindsay says that she expects to receive some financial support from her

grandmother and father and plans to apply for the Pride Foundation Scholarship. Lindsay says that

she has started the Free Application for Federal Student Aid, or FAFSA. Lindsay Hecox has not




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yet received a financial aid package for the Spring 2022 semester, so she does not know whether

she will receive less financial aid than when she withdrew from Boise State in Fall 2020.

       7.      Lindsay has said that she plans to register for classes for the Spring 2022 semester

once registration for continuing students begins on November 1, 2021.

       8.      Lindsay Hecox met with Joshua Wilkins in Boise State’s registrar’s office in

October 2020 to discuss her plan to establish in-state residency before returning to Boise State.

She has not met with other administrators since then. There is no requirement that Lindsay meet

with Boise State administrators to register for the Spring 2022 semester. Lindsay has said that she

informed her employer that she will be leaving her job in mid-December to prepare for her return

to school in the Spring 2022 semester.

Fall 2020 Deadline for Dropping Classes and Associated Penalties

       9.      There were two relevant deadlines for withdrawing from classes in the Fall 2020

semester at Boise State.

       10.     The first deadline was September 4, 2020. Students who withdrew from classes by

that deadline would have nothing recorded on their transcript related to the withdrawal and would

receive a tuition refund.

       11.     The second deadline was October 30, 2020. Students who withdrew from classes

by that deadline would have a “W” marked on their transcript for the classes that had been dropped

and would not receive a tuition refund. Students who withdrew from classes after that deadline

would have an “F” marked on their transcript for the dropped classes. A “W” does not affect a

student’s GPA, but an “F” does affect a student’s GPA.

       12.     Lindsay Hecox withdrew from some of her classes on October 26, 2020, and

withdrew from the remainder of her classes on October 28, 2020. She received “W”s on her



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transcript, but withdrew early enough to avoid having “F”s on her transcript. She did not receive

a tuition refund, and she had to repay $793 of her Pell Grant.

NCAA Eligibility

       13.     At Boise State, athletes who wish to be on a team but were not recruited are referred

to as “walk-on” athletes. Tryouts for walk-on athletes for the women’s track and cross country

teams occur once a year during the fall semester. To try out, a walk-on athlete needs to be a fully

enrolled student, pass a physical, and complete some paperwork. If Lindsay Hecox does those

three things, the next opportunity for her to try out for the women’s track and cross country teams

will be in the Fall 2022 semester. Boise State evaluates a walk-on athlete’s NCAA eligibility after

the student-athlete makes the team.

       14.     If Lindsay Hecox attends classes in the Spring 2022 semester, then in the Fall 2022

semester she will be considered a third-year student for purposes of NCAA eligibility because she

will have attended classes in four previous semesters (Fall 2019, Spring 2020, Fall 2020, and

Spring 2022). NCAA Bylaw 14.4.3.2 requires a student-athlete to complete 40% of the

requirements for her degree program by the start of the student-athlete’s third year of collegiate

enrollment. In Fall 2020, Lindsay Hecox selected psychology as her degree program. A

psychology major at Boise State requires completion of 120 credits. To satisfy the minimum

number of credits to complete 40% of the degree, she would need to earn a total of 48 credits that

count towards her degree by the end of the Spring 2022 semester. Lindsay Hecox has earned 24

credits at Boise State, and she received 18 credits based on her SAT and AP test scores in high

school. She thus has earned 42 credits so far, and so needs to complete six additional credits that

count towards her degree by the end of the Spring 2022 semester to complete 40% of her degree

program’s requirements by the start of her third year. Lindsay has stated that she plans to enroll as



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a full-time student in the Spring 2022 Semester, which dictates a minimum credit-load of 12

credits.

           15.   NCAA Bylaw 14.01.2.1 requires a student-athlete to be in good academic standing.

An undergraduate student at Boise State is deemed to be in good academic standing if they have

earned a minimum of a 1.75 cumulative grade point average while earning between 0 to 25

academic credits or a minimum of a 2.00 cumulative grade point average while earning 26 or more

academic credits. Lindsay Hecox to date has earned a 3.38 cumulative grade point average and so

is currently in good academic standing.

           16.   NCAA Bylaw 14.4.3.1(c) requires a student-athlete to complete six credit hours

during the semester preceding competition. Lindsay Hecox has stated that she plans to complete

at least 12 credit hours during the Spring 2022 semester.

           17.   NCAA Bylaw 14.4.3.1(b) requires a student-athlete to complete eighteen credit

hours since the beginning of the previous fall term or since the beginning of Boise State’s

preceding two semesters.

           18.   NCAA Bylaw 14.4.3.6(a) provides a student-athlete “may” qualify for a one-time

exception to NCAA Bylaw 14.4.3.1(b) that allows a student-athlete who has withdrawn from

school to complete a prorated requirement of nine credits per term of actual attendance. If Lindsay

Hecox attends Boise State during the Spring 2022 semester and successfully invokes this exception

after making the team in the Fall 2022 semester, then Lindsay Hecox will be responsible for

completing 36 credit hours at Boise State. Lindsay Hecox has completed 24 credits at Boise State.

           19.   NCAA Bylaw 14.4.3.6(b) provides that a student-athlete “may” qualify for an

exception to NCAA Bylaws 14.4.3.1(c) and 14.4.3.1(b) if the student-athlete was not recruited,

did not receive athletically related financial assistance, has never practiced or participated in



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intercollegiate athletics, and is otherwise eligible under all institutional, conference, and NCAA

rules. Lindsay was not recruited, has not received athletically related financial assistance, and has

never practiced or participated in intercollegiate athletics.

       20.     Per NCAA Bylaw 14.02.5, Boise State will apply an exception if it determines that

there is “evidence that the conditions on which the exception is authorized have been met.”

       21.     NCAA policy requires Lindsay Hecox to complete at least 12 months of

testosterone suppression treatment leading up to the Fall 2022 semester to compete on the women’s

track and cross country teams. Lindsay Hecox contends, and Defendants do not dispute for

purposes of this stipulation, that she has continuously undergone testosterone suppression

treatment from September 2019 until the present.

Impact of Withdrawal on NCAA Eligibility

       22.     Because Lindsay Hecox attended classes during the Fall 2020 semester, the

semester counts as an attempted semester for NCAA eligibility purposes even though she

ultimately withdrew. For example, the Fall 2020 semester counts in determining whether Lindsay

Hecox will be a third-year student in the Fall 2022 semester for purposes of NCAA Bylaw 14.4.3.2

and how many credits she is required to have completed for purposes of NCAA Bylaw 14.4.3.6(a).

       23.     If Lindsay Hecox makes the team in Fall 2022 but is not eligible under one or more

NCAA bylaws, either because the Bylaws do not provide for an exception or she does not qualify

for an exception, Boise State can submit a waiver request to the NCAA. Boise State does not

submit waiver requests to the NCAA until after a student athlete has made a team, and its general

practice is to submit waiver requests when there is a reasonable and good-faith justification for the

request. Boise State would treat Lindsay Hecox the same as all other student athletes and submit a

waiver request if it determined that there was a reasonable and good-faith justification for doing



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so. The NCAA decides whether to grant waivers, and the NCAA’s waiver guidelines provide that

waivers can be granted for unforeseeable hardships.

COVID-19 Waivers

       24.     The NCAA has not implemented COVID-19 waivers that would apply to Lindsay

Hecox if she made the women’s track and cross country team in the Fall 2022 semester.

Lindsay Hecox’s Plans to Play on Other Teams

       25.     Lindsay Hecox has said that she intends to continue playing sports and have sports

be a part of her college experience. If Lindsay does not make the women’s track and cross country

teams during the Fall 2022 try out, she has said that she intends to try out for the women’s track

and cross country teams again her senior year. She has also said that earlier, in Spring 2022, while

she waits for the Fall 2022 women’s track and cross country try out, she plans to try to join the

women’s club soccer team. She says that she has browsed the women’s club soccer team’s

webpage and, for the last six months, that she has been playing soccer almost weekly in a Boise

indoor soccer league.

       DATED this 15th day of October, 2021.


 By: /s/ Richard Epppink                           By: /s/ W. Scott Zanzig
     RICHARD EPPINK                                    W. SCOTT ZANZIG
     Counsel for Plaintiffs                            Deputy Attorney General
                                                       Counsel for Defendants


                                                   By: /s/ Roger E. Brooks
                                                        ROGER E. BROOKS
                                                        Counsel for Intervenors




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                              CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that on October 15, 2021, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
following persons:

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